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   11   Plaintiffs’ Co-Lead Class Counsel
   12
                            UNITED STATES DISTRICT COURT
   13
                          CENTRAL DISTRICT OF CALIFORNIA
   14
        IN RE: NATIONAL FOOTBALL                  CASE NO.: 2:15-ml-02668−PSG
   15   LEAGUE’S “SUNDAY TICKET”                  (JEMx)
        ANTITRUST LITIGATION
   16                                             DISCOVERY MATTER
   17                                             NOTICE OF MOTION AND
        THIS DOCUMENT RELATES TO                  MOTION RE PLAINTIFFS’
   18   ALL ACTIONS                               MOTION TO COMPEL
                                                  PRODUCTION OF DOCUMENTS
   19                                             ON DIRECTV’S PRIVILEGE
                                                  LOG
   20
                                                  Magistrate Judge: Hon. John E.
   21                                             McDermott
                                                  Date/Time: 11/22/2022, 10:00 a.m.
   22                                             Discovery Cutoff Date: 8/5/2022
                                                  Pretrial-Conference Date: 2/9/2024
   23                                             Trial Date: 2/22/2024
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    1   TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
    2         PLEASE TAKE NOTICE that on November 22, 2022 at 10:00 a.m., or as soon
    3   thereafter as this matter may be heard, Plaintiffs, on behalf themselves and all others
    4   similarly situated, will and hereby respectfully move for an order to compel the
    5   production of documents on DIRECTV’s Privilege Log.
    6         This Motion will be heard in the Courtroom of the Honorable John E.
    7   McDermott for the United States District Court in the Central District of California.
    8   The Court is located at the Roybal Federal Building and United States Courthouse,
    9   255 E. Temple Street, Los Angeles, California 90012, Courtroom 640, 6th Floor.
   10         This Motion is based upon this notice, the concurrently filed joint stipulation,
   11   the exhibits and declarations attached thereto, the pleadings and records on file in this
   12   action and such other matters as the Court deems necessary and proper.
   13         This Motion is made following conferences of counsel pursuant to Local Rule
   14   7-3 which took place on July 18, 2022, July 28, 2022, August 3, 2022, August 10,
   15   2022, and August 19, 2022.
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   18   DATED: October 28, 2022                         By: /s/ Farhad Mirzadeh
                                                        Farhad Mirzadeh
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